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                                                                                          R:C;~"IED
                                    IN THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                           )                                 CLERK   a      1 2008
                                                    )                                 SOIJTi.l. s« DIS71
                       Plaintiff,                   )       Criminal No. 3:08-cr-69         fRNDISr/!dCTCOUIlT
                                                    )                                                 TOFIOWA
                       v.                           )       INDICTMENT
                                                    )       T. 21 U.S.C. § 841(a)(1)
RICARDO TOWNSEND, a.k.a. Freaky,                    )       T. 21 U.S.C. § 841(b)(l)(A)
                                                    )       T. 21 U.S.C. § 846
                       Defendant.                   )


THE GRAND JURY CHARGES:

                                                COUNT I
                                        (Conspiracy to Distribute Drugs)

        From a date unknown to the Grand Jury, but beginning by on or during September 2005,

and continuing to on or during January 2008, in and about Johnson County in the Southern

District of Iowa, and elsewhere, the defendant, RICARDO TOWNSEND, a.k.a. Freaky, did

knowingly and intentionally conspire with other persons to knowingly distribute at least 50 grams

of a mixture and substance containing cocaine base, a.k.a. "crack" cocaine, Schedule II con­

trolled substance.

        This is a violation of Title 21, United States Code, Section 846, and 841(b)(l)(A).




                                                            FOREPEr-~-N--------
        A TRUE BILL.


        Matthew G. Whitaker
        United States Attorney

  By:   """/s::..../                                    _

        Melisa Zaehringer
        Special Assistant United States Attorney




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